
667 S.E.2d 468 (2008)
ATLANTIC INTEGRATED TECH.
v.
BANK.
No. 303P08.
Supreme Court of North Carolina.
September 22, 2008.
Thomas H. Stark, Chapel Hill, for Atlantic Integrated Tech., et al.
The following order has been entered on the motion filed on the 18th day of September 2008 by Defendants for Extension of Time to File Response to Petition for Writ of Certiorari:
"Motion Allowed. Defendants (Bank of America Corp., et al.) shall have up to and including the 29th day of September 2008 to file and serve his/her response with this Court. By order of the Court in conference this the 22nd day of September 2008."
